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                History              Milestones      The Law              Voices                 Visions



          For historical purposes, this is the original text of the law, without any subsequent
          amendments. For the current texts of the laws we enforce, as amended, see Laws Enforced by
          the EEOC.


                                                        An Act

          To further promote equal employment opportunities for American workers.

          Be it enacted by the Senate and House of Representatives of the United States of America in
          Congress assembled, That this Act may be cited as the "Equal Employment Opportunity Act of
          1972".

          SEC. 2.

          Section 701 of the Civil Rights Act of 1964 (78 Stat. 253; 42 U.S.C. 2000e) is amended as
          follows:

          (1) In subsection (a) insert "governments, governmental agencies, political subdivisions," after
          the word "individuals".

          (2) Subsection (b) is amended to read as follows:

           "(b) The term 'employer' means a person engaged in an industry affecting commerce who has
          fifteen or more employees for each working day in each of twenty or more calendar weeks in
          the current or proceeding calendar year, and any agent of such a person, but such term does
          not include (1) the United States a corporation wholly owned by the Government of the United
          States, an Indian tribe, or any department or agency of the District of Columbia subject by
          statute to procedures of the competitive service (as defined in section 2102 of title 5 of the
          United States Code), or (2) a bona fide private membership club (other than a labor
          organization) which is exempt from taxation under section 501(c) of the Internal Revenue
          Code of 1954, except that during the first year after the date of enactment of the Equal
          Employment Opportunity Act of 1972, persons having fewer that twenty-five employees (and
          their agents) shall not be considered employers."

          (3) In subsection (c) beginning with the semicolon strike out through the word "assistance".

          (4) In subsection (e) strike out between "(A)" and "and such labor organization", and insert in
          lieu thereof "twenty-five or more during the first year after the date of enactment of the Equal
          Employment Opportunity Act of 1972, or (BJ fifteen or more thereafter,".

          (5) In subsection (f), insert before the period a comma and the following: "except that the
          term 'employee' shall not include any person elected to public office in any State or political
          subdivision of any State by the qualified voters thereof, or any person chosen by such officer to
          be on such officer's personal staff, or an appointee on the policy making level or an immediate



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          adviser with respect to the exercise of the constitutional or legal powers of the office. The
          exemption set forth in the preceding sentence shall not include employees subject to the civil
          service laws of a State government, governmental agency or political subdivision."

          (6) At the end of subsection (h) insert before the period a comma and the following: "and
          further includes·any governmental industry, business, or activity".

          (7) After subsection (i) insert the following new subsection (j): "(j) The term 'religion' includes
          all aspects of religious observance and practice, as well as belief, unless an employer
          demonstrates that he is unable to reasonably accommodate to an employee's or prospective
          employee's religious observance or practice without undue hardship on the conduct of the
          employer's business."

          SEC. 3.

          Section 702 of the Civil Rights Act of 1964 (78 Stat. 255; 42 U.S. C. 2000e-1) is amended to
          read as follows:

          "SEC. 702.

          This title shall not apply to an employer with respect to the employment of aliens outside any
          State, or to a religious corporation, association, educational institution, or society with respect
          to the employment of individuals of a particular religion to perform work connected with the
          carrying on by such corporation, association, educational institution, or society of its activities."

          SEC. 4.

          (a) Subsections (a) through (g) of section 706 of the Civil Rights Act of 1964 (78 Stat. 259; 42
          U.S.C. 2000e-5(a) - (g)) are amended to read as follows:

          "SEC 706.

          (a) The Commission is empowered, as hereinafter provided, to prevent any person from
          engaging in any unlawful employment practice as set forth in section 703 or 704 of this title.

          "(b) Whenever a charge is filed by or on behalf of a person claiming to be aggrieved, or by a
          member of the Commission, alleging that an employer, employment agency, labor
          organization, or joint labor-management committee controlling apprenticeship or other training
          or retraining, including on-the-job training programs, has engaged in an unlawful employment
          practice , the Commission shall serve a notice of the charge (including the date, place and
          circumstances of the alleged unlawful employment practice) on such employer, employment
          agency, labor organization, or joint labor-management committee (hereinafter referred to as
          the 'respondent') within ten days, and shall make an investigation thereof. Charges shall be in
          writing under oath or affirmation and shall contain such information and be in such form as the
          Commission requires. Charges shall not be made public by the Commission. If the Commission
          determines after such investigation that there is not reasonable cause to believe that the
          charge is true, it shall dismiss the charge and promptly notify the person claiming to be
          aggrieved and the respondent of its action. In determining whether reasonable cause exists,
          the Commission shall accord substantial weight to final findings and orders made by State or
          local authorities in proceedings commenced under State or local law pursuant to the
          requirements of subsections (c) and (d). If the Commission determines after such investigatiOn
          that there is reasonable cause to believe that the charge is true, the Commission shall
          endeavor to eliminate any such alleged unlawful employment practice by informal methods of
          conference, conciliation, and persuasion. Nothing said or done during and as a part of such
          informal endeavors may be made public by the Commission, its officers or employees, or used
          as evidence in a subsequent proceeding without the written consent of the persons concerned.
          Any person who makes public information in violation of this subsection shall be fined not more
          that $1,000 or imprisoned for not more than one year, or both. The Commission shall make its
          termination on reasonable cause as promptly as possible and, so far as practicable, not later



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           than one hundred and twenty days from the filing of the charge or, where applicable under
           subsection (c) or (d), from the date upon which the Commission is authorized to take action
           with respect to the charge.

          "(c) In the case of an alleged unlawful employment practice occurring in a State, or political
          subdivision of a State, which has a State or local law prohibiting the unlawful employment
          practice alleged and establishing or authorizing a State or local authority to grant or seek relief
          from such practice or to institute criminal proceedings with respect thereto upon receiving
          notice thereof, no charge may be filed under subsection (a) by the person aggrieved before the
          expiration of sixty days after proceedings have been commenced under the State or local law,
          unless such proceedings have been earlier terminated, provided that such sixty-day period
          shall be extended to one hundred and twenty days during the first year after the effective date
          of such State or local law. If any requirement for the commencement of such proceedings is
          imposed by a State or local authority other than a requirement of the filing of a written and
          signed statement of the facts upon which the proceeding is based, the proceeding shall be
          deemed to have been commenced for the purposes of this subsection at the time such
          statement is sent by registered mail to the appropriate State or local authority.

          "(d) In the case of any charge filed by a member of the Commission alleging an unlawful
          employment practice occurring in a State or political subdivision of a State which has a State or
          local law prohibiting the practice alleged and establishing or authorizing a State or local
          authority to grant or seek relief from such practice or to institute criminal proceedings with
          respect thereto upon receiving notice thereof, the Commission shall, before taking any action
          with respect to such charge, notify the appropriate State or local officials and, upon request,
          afford them a reasonable time, but not less than sixty days (provided that such sixty-day
          period shall be extended to one hundred and twenty days during the first year after the
          effective day of such State or local law), unless a shorter period is requested, to act under such
          State or local law to remedy the practice alleged.

          "(e) A charge under this section shall be field within one hundred and eighty days after the
          alleged unlawful employment practice occurred and notice of the charge (including the date,
          place and circumstances of the alleged unlawful employment practice) shall be served upon the
          person against whom such charge is made within ten days thereafter, except that in a case of
          an unlawful employment practice with respect to which the person aggrieved has initially
          instituted proceedings with a State or local agency with authority to grant or seek relief from
          such practice or to institute criminal proceedings with respect thereto upon receiving notice
          thereof, such charge shall be filed by or on behalf of the person aggrieved within three hundred
          days after the alleged unlawful employment practice occurred, or within thirty days after
          receiving notice that the State or local agency has terminated the proceedings under the State
          or local law, which ever is earlier, and a copy of such charge shall be filed by the Commission
          with the State or local agency.

           "(f)(l) If within thirty days after a charge is filed with the Commission or within thirty days
          after expiration of any period of reference under subsection (c) or (d), the Commission has
          been unable to secure from the respondent a conciliation agreement acceptable to the
          Commission, the Commission may bring a civil action against any respondent not a
          government, governmental agency, or political subdivision named in the charge. In the case of
          a respondent which is a government, governmental agency, or political subdivision, if the
          Commission has been unable to secure from the respondent a conciliation agreement
          acceptable to the Commission, the Commission shall take no further action and shall refer the
          case to the Attorney General who may bring a civil action against such respondent in the
          appropriate United States district court. The person or persons aggrieved shall have the right
          to intervene in a civil action brought by the Commission or the Attorney General in a case
          involving a government, governmental agency, or political subdivision. If a charge filed with
          the Commission pursuant to subsection (b) is dismissed by the Commission, or if within one
          hundred and eight days from the filing of such charge or the expiration of any period of
          reference under subsection (c) or (d), whichever is later, the Commission has not filed a civil
          action under this section or the Attorney General has not filed a civil action in a case involving


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          a government, governmental agency, or political subdivision, or the Commission has not
          entered into a conciliation agreement to which the person aggrieved is a party, the
          Commission, or the Attorney General in a case involving a government, governmental agency,
          or political subdivision, shall so notify the person aggrieved and within ninety days after the
          giving of such notice a civil action may be brought against the respondent named in the charge
          (A) by the person claiming to be aggrieved or (B) if such charge was filed by a member of the
          Commission, by any person whom the charge alleges was aggrieved by the a lleged unlawful
          employment practice. Upon application by the complainant and in such circumstances as the
          court may deem just, the court may appoint an attorney for such compla inant and may
          authorize the commencement of the action without the payment of fees, costs, or security.
          Upon timely application, the court may, in its discretion, permit the Comm ission, or the
          Attorney General in a case involving a government, governmental agency, or political
          subdivision, to intervene in such civil action upon certification that the ca se is of general public
          importance. Upon request, the court may, in its discretion, stay further proceedings for not
          more that sixty days pending the termination of State or local proceedings, described in
          subsections (c) or (d) of this section or further efforts of the Commission to obtain voluntary
          compliance .

          "(2) Whenever a charge is filed with the Commission and the Commission concludes on the
          basis of a preliminary investigation that prompt judicial action is necessa ry to carry out the
          purposes of this Act, the Commission, or the Attorney General in a case involving a
          government, governmental agency, or political subdivision, may bring an action for appropriate
          temporary or preliminary relief pending final disposition of such charge. Any t emporary
          restraining order or other order granting preliminary or temporary relief shall be issued in
          accordance with rule 65 of the Federal Rules of Civil Procedure. It shall be the duty of a court
          having jurisdiction over proceedings under this section to assign cases fo r hearing at the
          earliest practicable date and to cause such case to be in every way expedited .

          "(3) Each United States district court and each United States court of a place subject to the
          jurisdiction of the United States shall have jurisdiction of actions brought under this title. Such
          an action may be brought in any judicial district in the State in which the unla wful employment
          practice is alleged to have been committed, in the judicial district in which the employment
          records relevant to such practice are maintained and administered, or in the j udicial district in
          which the aggrieved person would have worked but for the alleged unlawful employment
          practice, but if the respondent is not found within any such district, such an action may be .
          brought within the judicial district in which the respondent has his principal office . For purposes
          of sections 1404 and 1406 of title 28 of the United States Code, the judicial district in which
          the respondent has his principal office shall in all cases be considered a d istrict in which the
          action might have been brought.

          "(4) It shall be the duty of the chief judge of the district (or in his absence, the acting chief
          judge) in which the case is pending immediately to designate a judge in such district to hear
          and determine the case. In the event that no judge in the district is available t o hear and
          determine the case, the chief judge of the district, of the acting chief judge, as the case may
          be, shall certify this fact to the chief judge of the circuit (or in his absence, the acting chief
          judge) who shal l then designate a district or circuit judge of the circuit to hear and determine
          the case.

          "(5) It shall be the duty of the judge designated pursuant to this subsection t o assign the case
          for hearing at the earliest practicable date and to cause the case to be in every way ex pedited .
          If such judge has not scheduled the case for trial within one hundred and twenty days after
          issue has been joined, that judge may appoint a master pursuant to rule 53 of the Federal
          Rules of Civil Procedure.                                       ·

          "(g) If the court finds that the respondent has intentionally engaged in or is intentionally
          engaging in an unlawful employment practice charged in the complaint, t he co urt may enjoin
          the respondent from engaging in such unlawful employment practice, and ord er such
          affirmative action as may be appropriate, which may include, but is not lim ited to,



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          reinstatement or hiring of employees, with or without back pay (payable by the employer,
          employment agency, or labor organization, as the case may be, responsible for the unlawful
          employment practice), or any other equitable relief as the court deems appropriate. Back pay
          liability shall not accrue from a date more that two years prior to the filing of a charge with the
          Commission . Interim earnings or amounts earnable with reasonable diligence by the person or
          persons discriminated against shall operate to reduce the back pay otherwise allowable. No
          order of the court shall require the admission or reinstatement of an individual as a member of
          a union, or the hiring, reinstatement, or promotion of an individual as an employee, or the
          payment to him of any back pay, if such individual was refused admission, suspended, or
          expelled, or was refused employment or advancement or was suspended or discharged for any
          reason other than discrimination on account of race, color, religion, sex, or national origin or in
          violation of section 704(a)."

          (b)(l) Subsection (i) of section 706 of such Act is amended by striking out "subsection (e)" and
          inserting in lieu thereof "this section" .

          (2) Subsection (j) of such section is amended by striking out "subsection (e)" and inserting in
          lieu thereof "this section" .

          SEC. 5.

          Section 707 of the Civil Rights Act of 1964 is amended by adding at the end thereof the
          following new subsection:

          "(c) Effective two years after the date of enactment of the Equal Employment Opportunity Act
          of 1972, the functions of the Attorney General under this section shall be transferred to the
          Commission, together with such personnel, property, records, and unexpended balances of
          appropriations, allocations, and other funds employed, used, held, available, or to be made
          available in connection with such functions unless the President submits, and neither House of
          Congress vetoes, a reorganization plan pursuant to chapter 9 of title 5, United States Code,
          inconsistent with the provisions of this subsection . The Commission shall carry out such
          functions in accordance with subsections (d) and (e) of this section .

          "(d) Upon the transfer of functions provided for in subsection (c) of this section, in all suits
          commenced pursuant to this section prior to the date of such transfer, proceedings shall
          continue without abatement, all court orders and decrees shall remain in effect , and the
          Commission shall be substituted as a party for the United States of America , the Attorney
          General, or the Acting Attorney General, as appropriate.

          "(e) Subsequent to the date of enactment of the Equal Employment Opportunity Act 1972, the
          Commission shall have authority to investigate and act on a charge of a pattern or practice of
          discrimination , whether filed by or on behalf of a person claiming to be aggrieved or by a
          member of the Commission . All such actions shall be conducted in accordance with the
          procedures set forth in section 706 of this Act ."

          SEC. 6.

          Subsections (b), (c) , and (d) of section 709 of the Civil Rights Act of 1964 (78 Stat. 263; 42
          U.S.C. 2000e-8(b)-(d)) are amended to read as follows:

          "(b) The Commission may cooperate with State and local agencies charged wit h the
          administration of State fair employment practices laws and, with the consent of such agencies,
          may, for the purpose of carrying out its functions and duties under this title and within the
          limitation of funds appropriated specifically for such purpose, engage in and contribute to the
          cost of research and other projects of mutual interest undertaken by such agencies, and utilize
          the services of such agencies and their employees, and, notwithstanding any other provision of
          law, pay by advance or reimbursement such agencies and their employees for services
          rendered to assist the Commission in carrying out this title. In furtherance of such cooperative
          efforts, the Commission may enter into written agreements with such State o r local agencies



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          and such agreements may include provisions under which the Commission shall refrain from
          processing a charge in any cases or class of cases specified in such agreements or under which
          the Commission shall relieve any person or class of persons in such State or locality from
          requirements imposed under this section . The Commission shall rescind any such agreement
          whenever it determines that the agreement no longer serves the interest of effective
          enforcement of this title .

          "(c) Every employer, employment agency, and labor organization subject to this title shall (1)
          make and keep such records relevant to the determinations of whether unlawful employment
          practices have been or are being committed, ( ~ preserve such records for such periods, and
          (3) make such reports therefrom as the Commission shall prescribe by regulation or order,
          after public hearing, as reasonable, necessary, or appropriate for the enforcement of this title
          or the regulations or orders thereunder. The Commission shall, by regula t ion , require each
          employer, labor organization, and joint labor-management committee subject to this title which
          controls an apprenticeship or other training program to maintain such records as are
          reasonably necessary to carry out the purposes of this t itle, including, but not limited to, a list
          of applicants who wish to participate in such program, including the chronological order in
          which applications were received , and to furnish to the Commission upon request, a detailed
          description of the manner in which persons are selected to participate in the apprenticeship or
          other training program. Any employer, employment agency, labor organization, or joint labor-
          management committee which believes that the application to it of any regulation or order
          issued under this section would result in undue hardship may apply to the Commission for an
          exemption from the application of such regulation or order and, if such applica tion for an
          exemption is denied, bring a civil action in the United States district court for the district where
          such records are kept. If the Commission or the court, as the case may be, finds that the
          application of the regulation or order to the employer, employment agency, or labor
          organization in question would impose an undue hardship, the Commission or the court, as the
          case may be, may grant appropriate relief. If any person required to comply with the provisions
          of this subsection fails or refuses to do so, the United States district court for the district in
          which such person is found, resides, or transacts business, shall, upon application of the
          Comm ission, or the Attorney General in a case involving a government, governmental agency
          or political subdivision, have jurisdiction to issue to such person an order requ iring him to
          comply.

          "(d) In prescribing requirements pursuant to subsection (c) of this section, the Commission
          shall consult with other interested State and Federal agencies and shall endeavor to coordinate
          its requirements with those adopted by such agencies. The Commission shall furnish upon
          request and without cost to any State or local agency charged with the admin istration of a fair
          employment practice law information obtained pursuant to subsection (c) of this section from
          any employer, employment agency, labor organization, or joint labor-management committee
          subject to the jurisdiction of such agency. Such information shall be furni shed on condition that
          it not be made public by the recipient agency prior to the institution of a proceeding under
          State or local law involving such information. If this condition is violated by a recipient agency,
          the Commission may decline to honor subsequent requests pursuant to t his subsection."

          SEC. 7.

          Section 710 of the Civil Rights Act of 1964 (78 Stat . 264; 42 U.S.C. 2000e-9) is amended to
          read as follows:

                                             "INVESTIGATORY POWERS

          "SEC. 710.

          For the purpose of all hearings and investigations conducted by the Commission or its duly
          authorized agents or agencies, section 11 of the National Labor Relations Act (49 Stat. 455 ; 29
          U.S.C. 161) shall apply."

          SEC. 8


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          (a) Section 703(a) (2) of the Civil Rights Act of 1964 (78 Stat. 255; 42 U.S.C. 2000e-2(a) (2)
          is amended by inserting the words "or applicants for employment" after the words "his
          employees".

          (b) Section 703(c) (2) of such Act is amended by inserting the words "or applicants for
          membership" after the word "membership".

          (c) (1) Section 704(a) of such Act is amended by inserting a comma and the following: "or
          joint labor-management committee controlling apprenticeship or other training or retraining,
          including on-the-job training programs," after "employment agency".

          (2) Section 704(b) of such Act is amended by (A) striking out "or employment agency" and
          inserting in lieu thereof "employment agency, or joint labor-management committee controlling
          apprenticeship or other training or retraining, including on-the-job training programs.", and (B)
          inserting a comma and the words "or relating to admission to, or employment in, any program
          established to provide apprenticeship or other training by such a joint labor-management
          committee" before the word "indicating".

          (d) Section 705(a) of the Civil Rights Act of 1964 (78 Stat. 258; 42 U.S.C. 2000e-4(a)) is
          amended to read as follows:

          "SEC. 705.

          (a) There is hereby created a Commission to be known as the Equal Employment Opportunity
          Commission, which shall be composed of five members, not more than three of whom shall be
          members of the same political party. Members of the Commission shall be appointed by the
          President by and with the advice and consent of the Senate for a term of five years. Any
          individual chosen to fill a vacancy shall be appointed only for the unexpired term of the
          member whom he shall succeed, and all members of the Commission shall continue to serve
          until their successors are appointed and qualified, except that no such member of the
          Commission shall continue to serve (1) for more than sixty days when the Congress is in
          session unless a nomination to fill such vacancy shall have been submitted to the Senate, or
          (2) after the adjournment sine die of the session of the Senate in which such nomination was
          submitted. The President shall designate one member to serve as Chairman of the
          Commission, and one member to serve as Vice Chairman. The Chairman shall be responsible
          on behalf of the Commission for the administrative operations of the Commission, and except
          as provided in subsection (b), shall appoint, in accordance with the provisions of title 5, United
          States Code, governing appointments in the competitive service, such officers, agents,
          attorneys, hearing examiners, and employees as he deems necessary to assist it in the
          performance of its functions and to fix their compensation in accordance with the provisions of
          chapter 51 and sub chapter III of chapter 53 of title 5, United States Code, relating to
          classification and General Schedule pay rates: Provided, That assignment, removal, and
          compensation of hearing examiners shall be in accordance with sections 3105, 3344, 5362,
          and 7521 of title 5, United States Code."

          (e)(l) Section 705 of such Act is amended by inserting after subsection (a) the following new
          subsection (b):

          "(b)(l) There shall be a General Counsel of the Commission appointed by the President, by and
          with the advice and consent of the Senate, for a term of four years. The General Counsel shall
          have responsibility for the conduct of litigation as provided in sections 706 and 707 of this title.
          The General Counsel shall have such other duties as the Commission may prescribe or as may
          be provided by law and shall concur with the Chairman of the Commission on the appointment
          and supervision of regional attorneys. The General Counsel of the Commission on the effective
          date of this Act shall continue in such position and perform the functions specified in this
          subsection until a successor is appointed and qualified.

          "(2) Attorneys appointed under this section may, at the direction of the Commission, appear
          for and represent the Commission in any case in court, provided that the Attorney General



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          shall conduct all litigation to which the Commission is a party in the Supreme Court pursuant to
          this title."

          (2) Subsections (e) and (h) of such section 705 are repealed.

          (3) Subsections (b), (c), (d), (i), and (j) of such section 705, and all references thereto, are
          redesignated as subsections (c), (d), (e), (h), and (i), respectively.

          (f) Section 705(g)(6) of such Act, is amended to read as follows:

          "(6) to intervene in a civil action brought under section 706 by an aggrieved party against a
          respondent other than a government, governmental agency or political subdivision."

          (g) Section 714 of such Act is amended to read as follows:

                       "FORCIBLY RESISTING THE COMMISSION OR ITS REPRESENTATIVES

          "SEC. 714.

          The provisions of sections 111 and 1114, title 18, United States Code, shall apply to officers,
          agents, and employees of the Commission in the performance of their official duties.
          Notwithstanding the provisions of sections 111 and 1114 of title 18, United States Code,
          whoever in violation of the provisions of section 1114 of such title kills a person while engaged
          in or on account of the performance of his official functions under this Act shall be punished by
          imprisonment for any term of years or for life."

          SEC. 9.

          (a) Section 5314 of title 5 of the United States Code is amended by adding at the end thereof
          the following new clause:

          "(58) Chairman, Equal Employment Opportunity Commission."

          (b) Clause (72) of section 5315 of such title is amended to read as follows:

          "(72) Members, Equal Employment Opportunity Commission (4)."

          (c) Clause (111) of section 5316 of such title is repealed.

          (d) Section 5316 of such title is amended by adding at the end thereof the following new
          clause:

          "(131) General Counsel of the Equal Employment Opportunity Commission."

          SEC. 10

          Sections 715 of the Civil Rights Act of 1964 is amended to read as follows:

                          "EQUAL EMPLOYMENT OPPORTUNITY COORDINATING COUNCIL

          "SEC. 715.

          There shall be established an Equal Employment Opportunity Coordinating Council (hereinafter
          referred to in this section as the Council) composed of the Secretary of Labor, the Chairman of
          the Equal Employment Opportunity Commission, the Attorney General, the Chairman of the
          United States Civil Service Commission, and the Chairman of the United States Civil Rights
          Commission, or their respective delegates. The Council shall have the responsibility for
          developing and implementing agreements, policies and practices designed to maximize effort,
          promote efficiency, and eliminate conflict, competition, duplication and inconsistency among
          the operations, functions and jurisdictions of the various departments, agencies, and branches
          of the Federal Government responsible for the implementation and enforcement of equal
          employment opportunity legislation, orders, and policies. On or before July 1 of each year, the



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          Council shall transmit to the President and to the Congress a report of its activities, together
          with such recommendations for legislative or administrative changes as it concludes are
          desirable to further promote the purposes of this section."

          SEC. 11.

          Title VII of the Civil Rights Act of 1964 (78 Stat. 253; 42 U.S.C. 2000e et seq.) is amended by
          adding at the end thereof the following new section:

                          "NONDISCRIMINATION IN FEDERAL GOVERNMENT EMPLOYMENT

          "SEC. 717.

          (a) All personnel actions affecting employees or applicants for employment (except) with
          regard to aliens employed outside the limits of the United States) in military departments as
          defined in section 102 of title 5, United States Code, in executive agencies (other than the
          General Accounting Office) as defined in section 105 of title 5, United States Code (including
          employees and applicants for employment who are paid from nonappropriated funds), in the
          United States Postal Service and the Postal Rate Commission, in those units of the Government
          of the District of Columbia having positions in the competitive service, and in those units of the
          legislative and judicial branches of the Federal Government having positions in the competitive
          service, and in the Library of Congress shall be made free from any discrimination based on
          race, color, religion, sex, or national origin.

          "(b) Except as otherwise provided in this subsection, the Civil Service Commission shall have
          authority to enforce the provisions of subsection (a) through appropriate remedies, including
          reinstatement or hiring of employees with or without back pay, as will effectuate the policies of
          this section, and shall issue such rules, regulations, orders and instructions as it deems
          necessary and appropriate to carry out its responsibilities under this section. The Civil Service
          Commission shall

          "(1) be responsible for the annual review and approval of a national and regional equal
          employment opportunity plan which each department and agency and each appropriate unit
          referred to in subsection (a) of this section shall submit in order to maintain an affirmative
          program of equal employment opportunity for all such employees and applicants for
          employment;

          "(2) be responsible for the review and evaluation of the operation of all agency equal
          employment opportunity programs, periodically obtaining and publishing (on at least a
          semiannual basis) progress reports from each such department, agency, or unit; and

          "(3) consult with and solicit the recommendations of interested individuals, groups, and
          organizations relating to equal employment opportunity.

          The head of each such department, agency, or unit shall comply with such rules, regulations,
          orders, and instructions which shall include a provision that an employee or applicant for
          employment shall be notified of any final action taken on any complaint of discrimination filed
          by him thereunder. The plan submitted by each department, agency, and unit shall include, but
          not be limited to

          "(1) provision for the establishment of training and education programs designed to provide a
          maximum opportunity for employees to advance so as to perform at their highest potential;
          and

          "(2) a description of the qualifications in terms of training and experience relating to equal
          employment opportunity for the principal and operating officials of each such department,
          agency, or unit responsible for carrying out the equal employment opportunity program and of
          the allocation of personnel and resources proposed by such department, agency, or unit to
          carry out its equal employment opportunity program.




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           With respect to employment in the Library of Congress, authorities granted in this subsection
           to the Civil Service Commission shall be exercised by the Librarian of Congress.

           "(c) Within thirty days of receipt of notice of final action taken by a department, agency, or unit
           referred to in subsection 717(a), or by the Civil Service Commission upon an appeal from a
           decision or order of such department, agency, or unit on a complaint of discrimination based on
           race, color, religion, sex or national origin, brought pursuant to subsection (a) of this section,
           Executive 11478 or any succeeding Executive orders, or after one hundred and eighty days
           from the filing of the initial charge with the department, agency, or unit or with the Civil
           Service Commission on appeal from a decision or order of such department, agency, or unit
           until such time as final action may be taken by a department, agency, or unit, an employee or
           applicant for employment, if aggrieved by the final disposition of his complaint, or by the
           failure to take final action on his complaint, may file a civil action as provided in section 706, in
           which civil action the head of the department, agency, or unit, as appropriate, shall be the
           defendant.

           "(d) The provisions of section 706 (f) through (k), as applicable, shall govern civil actions
           brought hereunder.

           "(e) Nothing contained in this Act shall relieve any Government agency or official of its or his
           primary responsibility to assure nondiscrimination in employment as required by the
           Constitution and statutes or of its or his responsibilities under Executive Order 11478 relating
           to equal employment opportunity in the Federal Government."

           SEC. 12.

           Section 5108(c) of title 5, United States Code, is amended by--

           (1) striking out the word and" at the end of paragraph (9):

           (2) striking out the period at the end of paragraph (10) and inserting in lieu thereof a
           semicolon and the word "and"; and

           (3) by adding immediately after paragraph (10) the last time it appears therein in the following
           new paragraph:

           "(11) the Chairman of the Equal Employment Opportunity Commission, subject to the
           standards and procedures prescribed by this chapter, may place an additional ten positions in
           the Equal Employment Opportunity Commission in GS-16, GS-17, and G5-18 for the purposes
           of carrying out title VII of the Civil Rights Act of 1964."

           SEC. 13.

           Title VII of the Civil Rights Act of 1964 (78 Stat. 253; 42 U.S.C. 2000e et seq.) is further
           amended by adding at the end thereof the following new section:

               "SPECIAL PROVISION WITH RESPECT TO DENIAL, TERMINATION, AND SUSPENSION OF
                                        GOVERNMENT CONTRACTS

           "Sec. 718.

           No Government contract, or portion thereof, with any employer, shall be denied, withheld,
           terminated, or suspended, by any agency or officer of the United States under any equal
           employment opportunity law or order, where such employer has an affirmative action plan
           which has previously been accepted by the Government for same facility within the past twelve
           months without first according such employer full hearing and adjudication under the
           provisions of title 5, United States Code, section 554, and the following pertinent sections:
           Provided, That if such employer has deviated substantially from such previously agreed to
           affirmative action plan, this section shall not apply: Provided further, That for the purposes of
           this section an affirmative action plan shall be deemed to have been accepted by the



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           Government at the time the appropriate compliance agency has accepted such plan unless
           within forty-five days thereafter the Office of Federal Contract Compliance has disapproved
           such plan."

           Sec. 14.

           The amendments made by this Act to section 706 of the Civil Rights Act of 1964 shall be
           applicable with respect to charges pending with the Commission on the date of enactment of
           this Act and all charges filed thereafter.

           Approved March 24, 1972.



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